Case 2:18-cv-00285-.]CI\/|-CWH Document 1-1 Filed 02/15/18 Page 1 of 14

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KEVIN R. HANSEN, ESQ.
Nevada Bar No. 6336

AMY M. WILSON, ESQ.

Nevada Bar No. 13421

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kevin a kevim'hansen.com

amy evinrhansen.com
Attorneysfor Plaintijj‘ _

DISTRICT coURT
cLARK coUNTY, NEVADA
BARBARA SGRILLo, an individual; ease No-.: A'17'766315'C
Piaintiff, Dept N°': nepanmem 25
VS.
coMPLAINT

GEICO CASUALTY COMPANY, a Foreign
Corporat`ion, DOES I through X; and ROE
BUSlNESS ENTITIES I through X, inclusive,

Defendant.

 

 

Plaintiff, BARBARA SGRILLO, by and through her counsel of record, KEVIN R.
HANSEN, ESQ., and AMY M. WILSON, ESQ., of the law finn LAW OFFICES -OF KEVIN R.
HANSEN, complains and avers of the Defendant, GEICO CASUALTY COMPANY as follows:

PARTIES

l. Plaintifi` BARBARA SGR_ILLO (hereinai’cer “Plaintiff”) is, and at all times
relevant herein was a resident of Clark County, Nevada.

2. Upon information and belief, Defendant GEICO CASUALTY COMPANY
(hereinafter “Defendant”) is, and at all times relevant herein was a Foreign Corporation

conducting business in Clarlc County, Nevada.

 

Case Number: A-17-766315-C

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3. Defendants DOES l through X, and ROE BUSINESS ENTITIES l through X, are
set forth herein pursuant to Rule 10 of the Nevada Rules of Civil Procedure. They constitute all
persons or business entities currently unknown to Plaintiff who are believed to be responsible for
the events and happenings referred to in this Complaint or otherwise have a claim to an interest
in the subject matter of this Complaint. When the names of the DOES and ROE BUSINESS
ENTITIES have been ascertained, Plaintiff will request leave from the court to amend this
Complaint and join them in this action. All the defendants to this action, including the DOES and
ROE BUSINESS ENTITIES, are referred to herein as “Defendants” or “Defendants and each of
them.”

VENUE AN-D .IURISDICTION

4. Venue is proper in Clark County, Nevada pursuant to NRS 13.040,

5. The exercise of jurisdiction by this Court over each Defendant in this civil action
is proper pursuant to NRS 14.065.

6. The incident for which Plaintiff complains and for which Defendants are liable
arises out of; inter alia, contracts executed in Clark County, Nevada.

GENERAL ALLEGATIONS

7. Plaintiff incorporates and re-alleges paragraphs 1 through 6 of this Complaint as
though these paragraphs were fully set forth herein.

8. At all times relevant herein, Plaintiff BARBARA SGRILLO had an automobile
insurance policy with GEICO CASUALTY COMPANY which included a
$250,000.00/$500,000.00 uninsured/underinsured policy (hereinaher “UM/UIM Policy” or
“Policy”).

9. That on February 5, 2016, in Clark County, Nevada, Plaintiff BARBARA

 

 

 

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SGRILLO was struck by a third-party driver and sustained serious injuries while in the drivers’
seat ofher vehicle at a stop light.

10. That as a direct and proximate result of the negligence o.f the third-party driver,
Plaintiff sustained bodily injuries, all or some of which conditions may be permanent and
disabling, and all to Plaintiff’ s damage in a sum in excess of'$lS,OO0.00.

11. That as a direct and proximate result of the negligence of the third-party driver,
Plaintiff received medical and other treatment for the aforementioned injuries, and that said
services, care, and treatment are continuing and shall continue in the future, all to the damage of
Plaintiff.

12. That as a direct and proximate result of the negligence of the third-party driver,
Plaintiff has been required to , and has limited occupational and recreational activities, which
have caused and shall continue to cause Plaintiff loss of earning capacity, lost wages, physical
impairment, mental anguish, and loss of enjoyment of life, in a presently unascertainable amount.

13. That the negligent third-party driver paid its automobile insurance policy limits to
Plaintiff.

14. That Plaintiff BARBARA SGRILLO purchased an automobile insurance policy
(“The Poli-cy”) from Defendant GEICO CASUALTY COMPANY, which provided
uninsured/underinsured motorist insurance to Plaintiff.

15. That following the accident with the third-party driver, and after determining that
the third-party driver had insufficient policy limits to cover Plaintist injuries and damages,
Plaintiff demanded uninsured/underinsured policy limit payment from Defendant GEICO,

CASUALTY COMPANY.

16, That Defendant GEICO CASUALTY COMPANY refused to make adequate

 

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payment to Plaintiff as was required under the Policy.

17. That Defendant’s refusal to pay Policy limits was made without a reasonable basis
in fact or law.

18. That Defendant’s refusal to pay Policy limits was made in bad faith and for the
purpose of denying the benefits of contract for underinsured motorist coverage to Plaintiff

19. That Defendant’s refusal to pay Policy limits was an unlawful attempt to force
Plaintiff to accept money less than the amount due under the Policy.

20. That Defendant’s refusal to pay Plaintiff`s benefits due under the applicable
contract of insurance was malicious, willful, and intentional, and in fact, did cause injury to
Plaintiff in excess of $15,000.00.

21. That Defendant’s actions justify an award of punitive damages

22. That Plaintiff has been required to engage the services of an attomey, and
accordingly, have incurred attomey’s fees and costs to bring this action.

FIRST CAUSE 0'»F ACTION
(Breach of Con-tr-act)

23. Plaintiff incorporates and re-alleges paragraphs 1-22 as though these paragraphs
were fully set forth herein.

24. That Plaintiff has duly performed all the condi`tions, provisions, and terms of
agreement or policy of insurance relating to the loss sustained by the Plaintiff, and has furnished
and delivered to Defendant, full and complete particulars of said loss and has fully complied with
all the provisions of said policy or agreement relating to the giving of notice as to said loss, and
has duly given all other notices required to be given by the Plaintiff under the terms of such policy

or agreement

25. That Plaintiff and Defendant were bound by a contractual relationship pursuant to

 

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the Policy, That the actions of Defendant, as described herein, constituted a breach of contract
between itself and Plaintiff, and as a direct result thereof, Plaintiff has been damaged in a sum in
excess of $15,000.00.

26. That Defendant’s refusal to pay Plaintiff’s benefits due under the Policy was
malicious, willful, and intentional, and in fact, did cause injury to Plaintiff in excess of
$15,000.00. These actions justify an award of punitive damages

SECONI) CAUSE OF AC'I`ION
(Bad Faith and Unfair Claims Practices)

27. Plaintiff incorporates and realleges paragraphs 1 through 26 of the Complaint as
though these paragraphs were fully set forth herein.

28. That Plaintiff and Defendant were bound by a~contractual relationship pursuant to
the Policy held by Plaintiff That the expressed and implied promises made in connection with
that relationship, and the acts, conduct, and communication resulting in these implied promises,
obligated Defendant to act in good faith toward and to deal fairly with Plaintiff.

29. GEICO CASUALTY COMPANY, Defendants, and each of them, were slow in
acting upon Plaintiff's claim; failed to perform a prompt, thorough, objective, and good faith
investigation of Plaintiff’s claim; have refused to offer the appropriate settlement to which
Plaintiff, who is GEICO CASUALTY COMPANY’s customer, is entitled; have delayed
investigating and processing Plaintiff’s claim; have treated Plaintiff with contempt and have
compelled Plaintiff to initiate this litigation to recover the amounts due under the Policy, and have
refused to pay Plaintiff the amounts to which she is clearly, legally entitled.

30. Defendant further breached the Covenant of Good Faith and Fair Dealing by its
violation of provisions of the Unfair Claims Practices Act (NRS 6»86A.310) set out below;

violations which were done with Defendant’s actual and/or implied knowledge

 

 

 

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LAW OFFICES OF KEVIN R. HANSEN

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31. The actions of Defendant as described herein, constitutes a breach of the covenant
of good faith and fair dealing with Plaintiff, and as a direct and proximate result of thereof,
Plaintiff has been damaged in a sum in excess of $15`,000.00. The Defendants do not have a
reasonable basis for the claims decision Defendants have made in this matter.

THlRD CAUSE OF ACTION
(Breach of the Covenant of Good Faith and Fair Dealing)

32. Plaintiff incorporates and re-alleges paragraphs 1-31 as though these paragraphs
were fully set forth herein.

33. ln every contract there is an implied covenant of good faith and fair dealing
which requires the parties thereto to act in a manner that is fair to the parties and faithful to the
terms the agreement the parties executed. Pursuant to the contractual arrangement between the
parties, Defendant was obligated to pay Plaintiff for damages received as a result of any
accident with an underinsured motorist

34. Plaintiff entered into the policy agreement with Defendants induced by
Defendants’ representations that they would compensate Plaintiff in exactly the circumstances
presented herein.

35. Plaintiff detrimentally relied upon Defendants’ inducem'ents, omissions and
misrepresentations in executing said Policy,

36. The actions of Defendant as described herein, constituted unjust enrichment at
Plaintiff" s expense, and as a direct and proximate result thereof, Plaintiff has been damaged in a
sum in excess of $1 5,000-.00.

37. Defendant failed to acknowledge and act reasonably prompt upon

communications with respect to claims arising under insurance policies, as prohibited by NRS

686A.310(i)(b).

 

 

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3 8. Defendant failed to adopt and implement reasonable standards for the prompt
investigation and processing of claims arising under the insurance policy, as prohibited by NRS
686.310(1)(¢).

39. Defendant failed to effectuate prompt, fair, and equitable settlement of claim in
which liability of the insurer had become reasonably clear as prohibited by NRS 686.310(1)(e).

40. Defendant compelled Plaintiff to institute litigation to recover amounts due under
the Policy as prohibited by NRS 686A.310(f).

41. Defendant attempted to settle the claim with Plaintiff for less than the amount to
which a reasonable person would have believed he or she was entitled by reference to written or
printed advertising material accompanying or made part of an application as prohibited by NRS
686.310.(1)g).

42. Defendant failed to provide a prompt reasonable explanation of the basis in the
insurance policy, with respect to the facts of the insured’s claim and the applicable law, for the
offer to settle the claim as prohibited by NRS 686.310(1)(n).

43. Defendant has not made a reasonable attempt to settle Plaintiff s claim, therefore
violating the laws of the State of Nevada, and in performing the foregoing acts and omissions,
Defendant acted in bad faith, with malice, and oppression so as to justify an award of punitive
and exemplary damages

WHEREFORE, Plaintiff, expressly reserving the right t=o amend this Complaint prior to
or at the time of trial of this action and insert those items of damage not yet fully ascertainabl'e,
prays judgment against the Defendants and each of them as follows:

1. For general damages sustained by Plaintiff in excess of $15,000.00;

2. For special damages sustained by Plaintiff in excess of $15,000.00;

 

 

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Case 2:18-cv-00285-.]CI\/|-CWH Document 1-1 Filed 02/15/18 Page 9 of 14

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6.

7.

For wage loss in an amount to be determined;
For reasonable attomey’s fees and costs;

For interest at the statutory rate;

For punitive damages against Defendant; and

For other relief that the Court deems just and proper.

DATED this § 4 ij?lay of December, 2017.

LAW oFFICEs o KEer R. HANSEN

 

 

riner R. HANSEN, EsQ.

Nevada Bar No. 6336

AMY M. WILSON, ESQ,

Nevada Bar No. 13421

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Attorneysfor Plainti]j”Barbara Sgrillo

 

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At'torneysfor i’:’lczin),‘ijjf
DISTRICT COURT

CLARK COUNTY, NEVADA

ease NO_: A'17"766315'C
Dept NO': Department 25

BARBARA sGiuLLo, an lndividuai;

 

Plaintiffs,
Vs. INITIAL APPEARANCE FEE
DIS CLOSURE
GEICO CASUALTY COMPANY, a Foreign NRS CHAPTER 19

Corporation, DOES I through X; and ROE
BUSINESS ENTITIES I through X, inclusive,

 

Defendant.
Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for

parties appearing in the above-entitled action as indicated below;

BARBARA SGRILLO $270.00
TOTAL REMITTED: $270.00

DATED this tL\M`day or December, 2017.

LA _ OFFI ES OF KEVIN R. HANSEN

KEle k’. HANSEN, ESQ.
Nevada Bar No. 6336

AMY M. WILSON, ESQ.
Nevada Bar No. 13421

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Case Number: A-17-766315-C

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Attorneysfor Plaintiff

DISTRICT COURT
CLARK COUNTY, NEVADA

BARBARA SGRILLO., an individual; Case No.: A~17-766315-C
Dept No.:

Plaintiff, Department 25

vs.
_ SUMMONS
GEICO CASUALTY COMPANY, a Foreign
Corporation, DOES l through X; and ROE
BUSINESS ENTITIES l through X, inclusive,

Defendant.

 

 

 

 

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAlNST
YOU WITH'OUT YOUR BEIN'G HEARD UNLESS YOU RESPOND WITHIN 20
DAYS`. READ THE INFORMATION BELOW.

TO THE DEFENDANT: A civil Complaint has been filed by the Plaintiff against you for
the relief set forth in the Complaint.

GEICO CASUALTY COMPANY

1. lf you intend to defend this lawsuit, within 20 days after this Summons is served on
you exclusive of the day of service you must do the following:

a. File with the Clerl< of this Court, whose address is shown below, a formal
written response to the Complaint in accordance with the rules of the Court.

b. Serve a copy of your response upon the attorney whose name and address is shown
below.

Case Number: A-17-766315-C

 

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2. lf you intend to seek the advice of an attorney in this matter, you should do so
promptly so that your response may be filed on time.

Issued at the direction of:

l _ sTEvEN D. GRlERSoN
LAW OFFICES OF KEVIN R. HANSEN CLERK OF THE COURT

BY; D'lowt ®SWG"\- 12/14/2017

D'EPUTY CLER K DATE
County CourthouseMa"V A"ders°"

200 rewis Ave, 3m Floor, suite 3125

Las Vegas.` Nevada 89155

 

 

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AMY M. WILSON, ESQ.

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Attorneysfor Plaintijj"

 

 

 

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lN THE ElGHTH JUD|C|AL DlSTR|CT COURT
|N AND FOR THE COUNTY OF CLARK,
BARBARA SGR|LLO, AN lNDlV|DUAL,
Plaintiff(s),

VS. CASE NO: A-17-766315-C

GE|CO CASUALTY COMPANY, A FORE|GN
CORPORAT|ON,
Defendant(s),

_D sarain ofS ice

STATE OF NEVADA
COUNTY OF WASHOE ss.:

DAN|EL ACTON-STEVENS, being duly sworn says: That at all times herein Aftiant was and is a citizen of the United
States, over 18 years of age. and not a party to nor interested in the proceedings in which this Aftidavit is made.

That Aft` ant received copy(ies) of the SUMMONS; COMPLA|NT; ClV|L COVER SHEET; lNlTIAL APPEARANCE FEE
DlSCLOSURE NRS CHAPTER 19 On 1/26/2018 and served the same on 1/26/2018 at 1 :57 PM by delivery and leaving
a copy with:

|Vlacie Tue|l - Admlnistrative Assistant, pursuant to NRS 14.020 as a person of suitable age and discretion. of the
office of THE CORPORAT|ON TRUST COMPANY OF NEVADA, registered agent for GEICO CASUALTY
COMPANY, at the registered address of:

701~S Carson St Ste 200, Carson Clty, NV 89701-5239

A description of lVlacie Tue|| is as follows
Gender Co|or of SkinIRace Hair Age Height Weight
Female White Black 18 - 25 5'0 - 5'6 100-120 Lbs

Pursuant to NRS 239B.030 this document does not contain the social security number of any person.

Affiant does herein affirm under penalty of perjury under t law of the State of Nevada that the
foregoing is true and correct .

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/l

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Execuied on: 1/29/2018 "`oaula€acrol§efr_=vgns‘/ " ` -*_.) -.
by DAN|EL ACTON-STEVENS Registration: R 93

Reno Carson Mase nger Service, lnc #322
No notary is required per NRS 53.045 185 Martin St.

Reno, NV 89509
(775) 322-2424
www.renocarson.com

 

Ordel'#' R26006/NVPRF411

 

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